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 1                                                        THE HONORABLE ROBERT J. BRYAN
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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT TACOMA
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      KEVIN SCOTT BJORNSON,
10                                                   Case No. 3:20-CV-05449-RJB
                       Plaintiff,
11                                                   (PROPOSED) ORDER GRANTING
               vs.                                   DEFENDANT BANK OF AMERICA, N.A.’S
12
                                                     MOTION TO DISMISS PLAINTIFF’S
      EQUIFAX INC.; DISCOVER CARD;
13    USAA CREDIT CARD; BANK OF                      COMPLAINT
      AMERICA; and FIRST NATIONAL
14    BANK CARD,
15                     Defendants.
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17           THIS MATTER came before the Court on Defendant Bank of America, N.A.’s Motion to

18   Dismiss Plaintiff’s Complaint. The Court, having considered the motion, response, reply and the

19   files and records herein, NOW THEREFORE,

20           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant’s motion is

21   GRANTED, and the claims against Defendant Bank of America, N.A. are hereby DISMISSED.

22           ORDERED this ______ day of ___________________, 2020.

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24                                              ROBERT J. BRYAN
25                                              UNITED STATES DISTRICT COURT JUDGE

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     ORDER OF DISMISSAL AS TO PLAINTIFF’S                         MILLER NASH GRAHAM & DUNN LLP
     COMPLAINT AGAINST DEFENDANT BANK OF                          Pier 70 ~ 2801 Alaskan Way ~ Suite 300
     AMERICA, N.A. - 1                                                Seattle, Washington 98121-1128
     574830-0038/4852-0842-9763.1                                   (206) 624-8300/Fax: (206) 340-9599
               Case 3:20-cv-05449-RJB Document 49-1 Filed 08/04/20 Page 2 of 2



 1   Presented by:
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 3   s/Katie Loberstein
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